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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
-----------------------------------------------------X
William Raymond,
                                                             Civil Action No.:_______________
                                 Plaintiff,

                 -against-                                   COMPLAINT AND DEMAND
                                                             FOR TRIAL BY JURY
C.A.R. & Associates,

                                  Defendant.
-----------------------------------------------------X

        Plaintiff (“Plaintiff” or “Raymond”), by and through his attorney, FREDRICK

SCHULMAN & ASSOCIATES, Attorneys at Law, as and for his Complaint against the Defendant

C.A.R. & Associates (“Defendant” or “C.A.R. & Associates”), respectfully sets forth, complains

and alleges, upon information and belief, the following:


                                     PRELIMINARY STATEMENT

1.      Plaintiff brings this action seeking damages and declaratory relief arising from the

Defendant’s violation(s) of §1692 et. seq. of Title 15 of the United States Code, commonly

referred to as the Fair Debt Collection Practices Act (hereinafter referred to as “FDCPA”).

                                                  PARTIES

2.      Plaintiff is a resident of the State of FL, County of Polk, residing at 5012 Lazy Birch

Loop Lakeland, FL 33805. At all relevant times herein, Plaintiff maintained his residence at this

address.

3.         Upon information and belief, Defendant is a corporation incorporated under the laws of

the State of New York and authorized to conduct business in the State of FL. Upon further

information and belief, Defendant is engaged in the business of debt collection of debts incurred,
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and alleged to be incurred, for personal, family or household purposes, and is a collection firm

with its principal place of business at 5165 Broadway Ste 253 , Depew, NY 14043.

4.     At all relevant times herein, Plaintiff is a “consumer” as that term is defined in 15 U.S.C.

§1692a(3) of the FDCPA.

5.       Upon information and belief and at all relevant times, Defendant is a “debt collector” as

the phrase is defined in 15 U.S.C. §1692a(6) of the FDCPA, and is subject to the requirements of

the FDCPA.

6.     Upon information and belief, Defendant was attempting to collect a “debt” from the

Plaintiff as that term is defined in 15 U.S.C. §1692a(2) of the FDCPA. Upon further information

and belief, at all relevant times herein, Defendant knew or had reason to know that it was

obligated to comply with the provisions of the FDCPA when attempting to collect a debt

allegedly owed by Plaintiff.

                               JURISDICTION AND VENUE
7.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as 15

U.S.C. §§1692 et. seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction

over any State law claims in this action pursuant to 28 U.S.C. §1367(a).

8.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2).




       GENERAL FACTUAL ALLEGATIONS APPLICABLE TO ALL COUNTS

9.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “8” herein with the same force and effect as if the same were set forth at

length herein.
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10.    Plaintiff allegedly incurred a debt to an original creditor unknown to the Plaintiff. Upon

information and belief, the nature of the underlying debt allegedly owed by the Plaintiff is the

type of debt the FDCPA was designed to regulate.

11.     Beginning on or about January, 2013, Defendant commenced collection activity against

Plaintiff to recover a debt Defendant believed the Plaintiff was obligated to pay (referred to

hereinafter as the “Alleged Debt”).

12.    Defendant’s employee, “David Goldstein”, placed a telephone call to the Plaintiff’s uncle,

and stated he was calling from the Defendant’s legal department. Defendant the Plaintiff’s uncle

that the Plaintiff is being incarcerated for a crime of not paying the Alleged Debt. The Defendant

stated that the Plaintiff’s uncle and Plaintiff’s father need to be involved to pay this debt.

13.    Thereafter, the Plaintiff’s father called the Defendant and spoke to David Goldstein. Mr.

Goldstein was extremely rude the Plaintiff’s father and hung up on him.

14.    Plaintiff called the Defendant, but Mr. Goldstein refused to talk to him unless he provided

his social security number. Plaintiff refused to provide his social security number to a company he

didn’t know, who was threatening him, and withholding any information about a possible account.

15.    Defendant refused to speak to Plaintiff about the account, yet continued its third party

contact to the Plaintiff’s family members, to intimidate them about the Alleged Debt.

16.    The foregoing action by Defendant violated 15 U.S.C. §1692b(2), which prohibits

contacting a third party and stating that the consumer owes a debt.

17.    The foregoing action by Defendant violated 15 U.S.C. §1692c(b), which prohibits a third

party and stating that the consumer owes a debt.

18.    The foregoing action by Defendant violated 15 U.S.C. §1692d, which prohibits the use of

any conduct the natural consequence of which is to harass oppress or abuse any person.
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19.    The foregoing action by Defendant violated 15 U.S.C. §1692d(1), which prohibits the

threatened use of violence or criminal means in attempt to collect a debt.

20.    The foregoing action by Defendant violated 15 U.S.C. §1692d(2), which prohibits the use

of abusive language in attempt to collect a debt.

21.    The foregoing action by Defendant violated 15 U.S.C. §1692e, which prohibits the use of

any false, deceptive or misleading representation or means in attempt to collect a debt.

22.    The foregoing action by Defendant violated 15 U.S.C. §1692e(3), which prohibits

misrepresenting that the call is from an attorney.

23.    The foregoing action by Defendant violated 15 U.S.C. §1692e(4), which prohibits

threatening that a consumer would be arrested.

24.    The foregoing action by Defendant violated 15 U.S.C. §1692e(5), which prohibits

threatening to take any action that cannot legally be taken or that is not intended to be taken.

25.    The foregoing action by Defendant violated 15 U.S.C. §1692e(7), which prohibits stating

that a consumer committed any crime, or using other language to disgrace a consumer.

26.    The foregoing action by Defendant violated 15 U.S.C. §1692e(10), which prohibits the

use of false representation and deceptive means in attempt to collect a debt.

27.    The foregoing action by Defendant violated 15 U.S.C. §1692f, which prohibits using any

unfair and unconscionable means in attempt to collect a deb.t

28.    The foregoing action by Defendant violated 15 U.S.C. §1692g(a) which mandates that

the Defendant provide a consumer with a 30-day notice of dispute rights, within 5 days of initial

communication.

29.    As a result of the Defendant’s deceptive, misleading and/or unfair debt collection

practices, the Plaintiff has been damaged.
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30.    As a direct consequence of the Defendant’s acts, practices and conduct, the Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.

           FIRST CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692b(2)

31.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “30” herein with the same force and effect as if the same were set forth at

length herein.

32.    The Defendant’s conduct violated 15 U.S.C. §1692b(2) in that the Defendant called the

Plaintiff’s uncle and stated that the Plaintiff owes an alleged debt.

33.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

          SECOND CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692c(b)

34.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “33” herein with the same force and effect as if the same were set forth at

length herein.

35.    The Defendant’s conduct violated 15 U.S.C. §1692c(b) in that the Defendant contacted

the Plaintiff’s uncle and stated that the Plaintiff owes an Alleged Debt.

36.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

            THIRD CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692d
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37.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “36” herein with the same force and effect as if the same were set forth at

length herein.

38.    The Defendant’s conduct violated 15 U.S.C. §1692d in that the Defendant used conduct

the natural consequence of which was to harass, oppress and abuse any person.

39.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

          FOURTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692d(1)

40.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “39” herein with the same force and effect as if the same were set forth at

length herein.

41.    The Defendant’s conduct violated 15 U.S.C. §1692d(1) in that the Defendant threatened

to unlawfully and criminally arrest the Plaintiff.

42.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

           FIFTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692d(2)

43.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “42” herein with the same force and effect as if the same were set forth at

length herein.

44.    The Defendant’s conduct violated 15 U.S.C. §1692d(2) in that the Defendant used

abusive language towards the Plaintiff and his father and uncle.
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45.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

            SIXTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e

46.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “45” herein with the same force and effect as if the same were set forth at

length herein.

47.    The Defendant’s conduct violated 15 U.S.C. §1692e in that the Defendant used false,

deceptive and misleading representation and means in attempt to collect a debt.

48.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

         SEVENTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(3)

49.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “48” herein with the same force and effect as if the same were set forth at

length herein.

50.    The Defendant’s conduct violated 15 U.S.C. §1692e(3) in that the Defendant

misrepresented itself as an attorney by stating that they were calling from the “legal department”.

51.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

          EIGHTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(4)
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52.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “51” herein with the same force and effect as if the same were set forth at

length herein.

53.    The Defendant’s conduct violated 15 U.S.C. §1692e(4) in that the Defendant stated that

the Plaintiff would be incarcerated because he didn’t pay an Alleged Debt.

54.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

           NINTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(5)

55.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “54” herein with the same force and effect as if the same were set forth at

length herein.

56.    The Defendant’s conduct violated 15 U.S.C. §1692e(5) in that the Defendant threatened

to take action it could not legally take and didn’t intend to take.

57.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

           TENTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(7)

58.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “57” herein with the same force and effect as if the same were set forth at

length herein.
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59.    The Defendant’s conduct violated 15 U.S.C. §1692e(7) in that the Defendant stated that

Plaintiff would be incarcerated for the “crime” of not paying an alleged debt. This statement,

made to the Plaintiff’s uncle, greatly disgraced the Plaintiff.

60.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

       ELEVENTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(10)

61.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “60” herein with the same force and effect as if the same were set forth at

length herein.

62.    The Defendant’s conduct violated 15 U.S.C. §1692e(10) in that the Defendant used false

representation and deceptive means in attempt to collect an alleged debt.

63.    As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

          TWELVTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692f

64.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “63” herein with the same force and effect as if the same were set forth at

length herein.

65.    The Defendant’s conduct violated 15 U.S.C. §1692f in that the Defendant used unfair

and unconscionable means in attempt to collect a debt.
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66.        As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

           THIRTEENTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692g(a)

67.        Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “66” herein with the same force and effect as if the same were set forth at

length herein.

68.        The Defendant’s conduct violated 15 U.S.C. §1692g(a) in that the Defendant failed to

send the Plaintiff a 30-day validation notice in the mail within 5 days of initial communication;

Defendant didn’t send such notice at all.

69.        As a result of the Defendant’s violation of the FDCPA, the Plaintiff has been damaged

and is entitled to statutory damages, actual damages and all costs and reasonable attorney’s fees

pursuant to the relevant provisions of the FDCPA.

                                   DEMAND FOR TRIAL BY JURY

70.        Plaintiff hereby demands a trial by jury for all claims and issues in this complaint for

which the Plaintiff is or may be entitled to a jury trial.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiff William Raymond demands judgment from the Defendant C.A.R.

& Associates, as follows:

      A.    For actual damages provided and pursuant to 15 U.S.C. §1692k(a)(1);

      B.    For statutory damages provided and pursuant to 15 U.S.C. §1692k(a)(2):

      C.    For attorneys’ fees and costs provided and pursuant to 15 U.S.C. §1692k(a)(3);

      D.    For a declaration that the Defendant’s practices violated the FDCPA; and,
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   E.   For any such other and further relief, as well as further costs, expenses and disbursements of

        this action, as this Court may deem just and proper.



Dated: New York, New York
       February 26, 2013

                                           Respectfully submitted,


                                          By: s/ Jerald Alan Belofsky Esq.
                                               JERALD ALAN BELOFSKY
                                          FREDRICK SCHULMAN & ASSOCIATES
                                          Attorneys at Law
                                          Attorney for Plaintiff
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